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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

EDWARD KIM,                         :   MOTION TO VACATE
BOP ID 64144-019,                   :   28 U.S.C. § 2255
     Movant,                        :
                                    :   CIVIL ACTION NO.
     v.                             :   1:16-CV-1173-WSD-CMS
                                    :
UNITED STATES OF AMERICA,           :   CRIMINAL ACTION NO.
    Respondent.                     :   1:12-CR-323-WSD-CMS

            FINAL REPORT AND RECOMMENDATION

     This matter is before the Court on Edward Kim’s pro se Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody [31]. Because Kim is proceeding pro se, the

undersigned has liberally construed his filings. See Erickson v. Pardus, 551

U.S. 89, 94 (2007).

     In December 2012, Kim pleaded guilty to four counts of a six count

Indictment, including a count charging him with use of a firearm during the

commission of a crime of violence in violation of 18 U.S.C. § 924(c). See

[15-1]. In February 2013, Kim was sentenced to three 175-month terms of

imprisonment on the non-924(c) counts to run concurrently and an 84-

month term of imprisonment on the 924(c) count to run consecutively, “for

a total of two-hundred fifty-nine (259) months.” [27] at 2. Kim did not
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appeal, and he did not file a § 2255 motion within one-year of the date that

his convictions and sentence became final in May 2013.

      In April 2015, Kim filed a § 2255 motion arguing that his “sentence is

unlawful and illegal due to the recent Supreme Court decision in Johnson v.

United States,” 135 S. Ct. 2551 (2015). [31] at 4. Kim contends that his

§ 2255 motion is timely under § 2255(f)(3) because “it is based on a newly

decided Supreme Court decision, made retroactive on collateral review.”

[31] at 10.

      The United States Court of Appeals for the Eleventh Circuit has held

that “Johnson applies retroactively on collateral review to prisoners seeking

habeas relief for the first time.” Mays v. United States, No. 14-13477, 2016

U.S. App. LEXIS 5730, at *18 (11th Cir. Mar. 29, 2016); see also In re

Rivero, 797 F.3d 986, 991 (11th Cir. 2015) (stating in dicta that “[i]f Rivero

. . . were seeking a first collateral review of his sentence, the new

substantive rule from Johnson would apply retroactively”).          And Kim’s

§ 2255 motion is his first request for collateral review of his sentence.

      In Johnson, the Supreme Court held that “imposing an increased

sentence under the Armed Career Criminal Act [(the “ACCA”)] violates the

Constitution’s guarantee of due process.” Johnson, 135 S. Ct. at 2563. The


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specific provision of the ACCA addressed by the Supreme Court is codified

at 18 U.S.C. § 924(e)(B)(ii). See id. at passim.

       The difficulty for Kim, however, is that he was sentenced pursuant to

18 U.S.C. § 924(c), which Johnson did not directly address. Although Kim

argues that § 924(e)(B)(ii) and § 924(c)(3)(B) are so similar that the

Supreme      Court’s   decision   in   Johnson     invalidating   § 924(e)(B)(ii)

necessarily means that § 924(c)(3)(B) will be invalidated, Johnson did not

establish the right asserted by Kim. The relevant language of the two

provisions is not identical, and the one federal appellate court to date to

have     considered    on   the   merits    a   vagueness   challenge    to   the

constitutionality of § 924(c)(3)(B) rejected that challenge “because

§ 924(c)(3)(B) is considerably narrower than the statute invalidated by the

Court in Johnson, and because much of Johnson’s analysis does not apply

to § 924(c)(3)(B).” United States v. Taylor, 814 F.3d 340 (6th Cir. 2016).

Similarly, a district court surveying district court decisions recently

concluded that “a clear majority of courts who have considered it have

similarly concluded and held that Johnson’s reasoning does not compel the

invalidation of § 924(c)(3)(B).” United States v. Dervishaj, No. 13-CR-668,

2016 U.S. Dist. LEXIS 33342, at *23 (E.D.N.Y. Mar. 14, 2016) (collecting


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cases).   Moreover, the Supreme Court itself has not addressed the

constitutionality of § 924(c)(3)(B). Thus, in the language of § 2255(f)(3),

the “right asserted” by Kim has not yet been “newly recognized” by the

Supreme Court.

      It may be that in some future case a litigant will persuade the

Supreme Court that § 924(c)(3)(B) should be declared unconstitutional, but

until that case is actually decided by the Supreme Court and made

retroactively applicable to cases on collateral review, Kim is not entitled to

have his sentence vacated under § 2255. Moreover, because § 2255(f)(3)

does not apply here, Kim’s § 2255 motion is untimely because it was not

filed with one year of the date that his convictions and sentence became

final. See 28 U.S.C. § 2255(f)(1); cf. Clay v. United States, 537 U.S. 522,

524-25 (2003).

      Accordingly, the undersigned RECOMMENDS that Kim’s § 2255

motion be DISMISSED because it plainly appears that he is not entitled to

relief. See 28 U.S.C. § 2255, Rule 4(b).

      The undersigned further RECOMMENDS that a Certificate of

Appealability be DENIED because Kim does not meet the requisite

standard. See Slack v. McDaniel, 529 U.S. 473, 484 (2000) (requiring a


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two-part showing (1) “that jurists of reason would find it debatable whether

the petition states a valid claim of the denial of a constitutional right,” and

(2) “that jurists of reason would find it debatable whether the district court

was correct in its procedural ruling”); see also Spencer v. United States, 773

F.3d 1132, 1138 (11th Cir. 2014) (holding that the Slack v. McDaniel

standard will be strictly applied prospectively).

        The Clerk is DIRECTED to terminate the referral of this case to the

undersigned.

        SO RECOMMENDED AND DIRECTED, this 11th day of May,

2016.




                               CATHERINE M. SALINAS
                               UNITED STATES MAGISTRATE JUDGE




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